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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
JOSEPH MANTHA, on behalf of himself
and all others similarly situated,
Plaintiff,
vs. Civil Action No. 1:19-CV-12235-LTS

QUOTEWIZARD.COM, LLC,

Defendant.

VIDEOTAPED DEPOSITION OF
JOSEPH MANTHA
CONDUCTED REMOTELY
Monday, July 27, 2020

10:13 a.m. EDT

Laurie K. Langer, RPR

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APPEARANCES

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ALSO PRESENT:

Alan Paller, Videographer

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INDEX OF EXAMINATION

WITNESS: Joseph Mantha

EXAMINATION

By Mr. Polansky

By Mr. Broderick

INDEX TO EXHIBITS

NO. DESCRIPTION

Exhibit 9 Plaintiff's Answers to
Defendant's First Set of
Interrogatories

Exhibit 10 6/3/20 Letter to Mr. Paronich
and Attached

Exhibit 11 5/22/20 Letter to Mr. Paronich
and Attached

Exhibit 12 Text Messages

Exhibit 13 9/4/19 Letter from Mr.
Washkowitz and Attached

Exhibit 14 Plaintiff's Responses to
Defendant's First Request for
Production of Documents

Exhibit 15 Declaration of Joseph Mantha

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NO. DESCRIPTION
Exhibit 16 Plaintiff's Response to
Defendant's Second Set of

Requests for Admission

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(Original exhibits attached to original transcript)

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PROCEEDINGS

VIDEOGRAPHER: Good morning. We're going on
the record at 10:13 a.m. on Monday, July 27, 2020.

Please turn off all cellphones or place them
away from the microphones as they can interfere with the
deposition audio. Audio and video recording will
continue to take place unless all parties agree to go
off the record.

This begins media unit number 1 of the video
recorded deposition of Joseph Mantha taken by counsel
for the Defendant in the matter of Joseph Mantha on
behalf of himself and all others similarly situated
versus QuoteWizard.com, LLC. Filed in the U.S District
Court for the District of Massachusetts, case number
1:19-CV-12235-LTS.

This deposition is being held remotely via
teleconference. My name is Alan Paller from the firm
Veritext New England, I am the videographer. And the
court reporter is Laurie Langer, also from Veritext.

I am not authorized to administer an oath, I
am not related to any party in this action, nor am I
financially interested in the outcome.

As this time counsel and everyone attending

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remotely will now state their appearances and
affiliations for the record. If there are any
objections to proceeding please state them at the time
of your appearance beginning with the noticing attorney.

MR. POLANSKY: Good morning. Kevin Polansky
on behalf of QuoteWizard.

MR. BRODERICK: Good morning. Edward
Broderick on behalf of Mr. Mantha.

VIDEOGRAPHER: The court reporter will now

swear in the witness.

JOSEPH MANTHA,
having been satisfactorily identified by the production
of his driver's license, and duly sworn by the Notary

Public, was examined and testified as follows:

EXAMINATION

BY MR. POLANSKY:

Q. Good morning, Mr. Mantha. As you know I
represent QuoteWizard which is a Defendant in the action
filed against them by you.

MR. POLANSKY: Ted, the usual stipulations?

MR. BRODERICK: Yes. We'll reserve all

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objections, except as to form, until the time of trial.
MR. POLANSKY: Okay. 30 days read and sign?
Waive notary?
MR. BRODERICK: Yes, please.
MR. POLANSKY: Okay.

Q. Mr. Mantha, this is sort of an unusual way to
conduct a deposition, but it's becoming more normal. I
just want to go through a few sort of ground rules to
make this run smoothly and hopefully get you out of here
sooner rather than later.

At any point in time if you don't understand any
of my questions please let me know and I'll be happy to
rephrase it; okay?

A. Okay.

Q. It's also very important that you give verbal
responses to my questions so that the court stenographer
can take them down; okay?

A. Okay.

Q. It's very important that only one of us speak at
a time, that way the court stenographer can take down
accurately everything that I've asked you and that
you've responded to; okay?

A. Okay.

Q. If at anytime you need a break I'm happy to give

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it to you. This isn't a marathon. You know, please
just let me know you need a break and we'll take a break
as soon as any question that's been posed is answered;
okay?

A. Okay.

Q. And if you have any questions that come up during
the deposition just let me know and we can address those
as they come; okay?

A. Okay.

QO. Mr. Mantha --

MR. BRODERICK: Sorry. Go ahead.

Q. -- please state your name for the record.

A. Joseph Mantha.

MR. BRODERICK: Kevin, I just want to put
one thing on the record, just our understanding of the
limitation of the scope of the deposition, that we're
just here to answer questions about Mr., Mr. Mantha's
purported consent to receive text messages and/or calls
on behalf of QuoteWizard consistent with, with the
Court's order and consistent with the limitations that
you placed on, on our questioning in earlier
depositions. And sorry to interrupt.

MR. POLANSKY: That's all right. I will

just respond to that saying that obviously we don't

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waive any right to ask those questions at another time
and that, you know, some questions that I do ask will go
to the history or background and may not, you know, if
you have any objections at that time obviously you're
free to raise them.

MR. BRODERICK: Will do.

Q. Okay. Mr. Mantha, do you go by Joseph or Joe or

both?
A. Both.
Q. Okay. Is it okay to call you Joe?
A. That's fine.
Q. Have you ever been deposed before?
A. No.
Q. Where do you reside?
A. 38 Vista Circle, Rutland, Massachusetts 01543.
Q. And how long have you lived at 38 Vista Road?
A. Just over five years.
Q. Okay. So that would be around 2015?
A. Correct.
Q. And who do you currently live with?
A. My wife and my two sons.
Q. How old are your sons?
A. Four, and eight months.
Q. What's your wife's name?

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Melisa.
And does she take -- did she take your last name?
Yes. And for her spelling it's M-E-L-I-S-A.
And what's her maiden name?
Banks.
Now, has it -- for the -- strike that.

Since January of 2019 have any other individuals

lived with you and Melisa at 38 Vista Road?

A.

Q.

No.

What about temporarily, has anyone come to live

with you during that period of time?

A.

Q.

No.

No family members have lived with you during that
of time?

No.

Since you've owned the property in 2015 have any
members resided with you?

No.

What about friends?

No.

So is it -- it's fair to say based on what you

testified to so far, that nobody has resided with you

since you purchased the property in 2015 except for you,

your wife Melisa, and your two kids as soon as they were

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born?

A. Correct.

Q. Now, during the period of 2019 did you, did you
take any vacations?

A. Yes.

Q. Where did you go?

A. I'm trying to think last year. Typically we
would go up to Maine and I've been to Florida. My
mother lives in Florida.

Q. Did you go on any other, other vacations or trips
during 2019?

A. Not that I recall.

Q. Do you travel for work outside of Massachusetts?

A. No.

Q. Have you ever been to New Jersey to stay over?

A. I think the last time that I went there was in
high school. I think I went to Six Flags in New Jersey.

Q. So you haven't been back to New Jersey since high
school. What -- what year did you graduate?

A. 1997.

Q. So over 20 years?

A. Yes.

Q. And as you sit here today you don't recall any

other vacations other than Maine and Florida in 2019?

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A. I don't recall any other ones. I went to the
Outer Banks, I think that was 2018. That's what I'm
thinking about.

Q. Any other weekends away that you might not
consider a vacation but just sort of getaways for the
weekend or night in 2019?

A. No.

Q. In preparing for today's deposition did you
review any document?

(Inaudible)
MR. POLANSKY: What's that, Ted?

A. Yes.

QO. Hold on.

MR. POLANSKY: Ted, did you say something?
MR. BRODERICK: No.
MR. POLANSKY: Okay. I'm sorry.

Q. What documents did you review?

A. My responses.

Q. When you say your "responses" were those to
interrogatories? Or all discovery responses?

A. I believe it's all.

Q. Okay. So do you recall seeing a document called
interrogatories?

A. Along the way I, I do recall that word. But I'm

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not familiar with what document is what exactly.

Q.

But you believe you reviewed all of your

discovery responses in this case?

A.
Q.
A.

Q.

Yes.
Did you review any other documents?
No.

Did you speak to anybody other than your

attorneys in preparing for today's deposition?

A. My wife.

Q. And what did you discuss with your wife?

A. Just the fact that I had it. I had to take a day
off of work. She knew that I had to do it. Small talk.

Q. Anybody else?

A. No.

Q. And what do you do for work?

A. I'm the director of residential operations at the
Doctor Franklin Perkins School in Lancaster,
Massachusetts.

Q. Did you say "director of residential operations"?

A. Yes.

Q. And how long have you had that role?

A. Just over three years.

Q. You said the school is located in Lancaster,
Mass.?

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A. Correct.

Q. And what type of school is it?

A. It's a special education school.

Q. And what's your role as director of residential
operations?

A. Our residential division consists of six group
homes on campus. I oversee the six residential homes.

Q. And all of the group homes are on campus?

A. Correct.

Q. Do you have an office on campus?

A. I do.

Q. Do you also work out of the house for the, as the

director of residential operations?

A.
Q.

days a

A.

No.

So do you go into the office five, six, seven
week?

Five days. Monday through Friday.

No weekend time?

No.

And what are your hours?

Typically 8 to 4, 9 to 5.

What about after hours if there is an issue?

Sometimes I could get stuck a little longer.

It's tougher these days with day-care, kids.

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Q. I know that. I know that feeling.
Now, in your office has the school provided you
with any sort of desktop computer, a laptop?

A. Desktop.

Q And what kind of desktop is it; what's the brand?

A. I don't know.

Q. How long have you had that desktop computer?

A I couldn't even give you a timeframe. I'm not
sure.

Q. How long have you worked at the -- what was the

name of the school?

A. Doctor Franklin Perkins School. I've been there
since 2007.

Q. Have you had the same computer during that period
of time?

A. No. They've upgraded over the years at different
times and changed things, but I couldn't give you a date
or a timeframe.

Q. Okay. Well, let me ask you this way. So you've
been in this role as director of residential operations
for three years; right?

A. Right.

Q. So roughly since 2017?

A. Has it changed? Yes. I think it went from, we

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had more of these smaller -- they connected through, I

forget

what it's called, but now I have a bigger kind

of -- like, we had towers, then we didn't have towers,

and now we have these smaller PCs. I don't know the

lingo.

2019?

A.

Q.

That's right. Has it been the same PC in all of

I think so.
Do you have the same PC now that you had in 2019?
I believe so.

Now, do you work in an office or is it like a

cubicle? Sort of explain your setup.

A.
Q.
do you

A.

It's an office.
Is it just you in the office, in that office, or
have other people with you?

Just me in the office. My office is in a wing

that has three offices total.

Q.

A
Q.
A

Who are the other offices?
Kathy Mills and Tim Hammond.
Who is Kathy Mills?

She is the VP of research and innovation. And

Tim Hammond is the chief operating officer.

Q.

A.

Does your office door lock?

Yes.

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Q.

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And is it typical for you to lock the door when

you leave for the day?

A.
Q.
A.

Q.

Yes.
And do you always do that?
Yes.

Does anybody else have access to your school

computer? Your work computer.

A.

Q.

Q.

access?

Q.

No.

Does anybody have access to -- strike that.

Do you have a work e-mail account?

Yes.

And does anybody else have access to that work
account?

No.

What about the IT department, would they have

Well, I guess they would be able to.

And do you use the -- strike that.

Do you ever bring the work computer home?
No.

And has that always been true, you've never

brought the work computer home?

A.

Q.

Correct.

Do you ever do any personal use on the work

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computer?

A. No.

Q. Never? I mean, in other words, you don't check
the news, you don't go on ESPN, something like that?

A. I try not to.

Q. I understand you try not to, but have you?

A. Maybe. I've gone on Amazon, but typically that
might be for work purchases.

Q. What would you need to purchase for, on Amazon
for work?

A. Sports equipment, mostly. Activities. Keep the
kids going.

QO. How old are the kids that are in the six
different residence halls?

A. Roughly 12 to 21. They age out at 22.

Q. And what are your responsibilities with respect
to the residence halls in overseeing these groups of 12
to 21 year olds?

A. Participate in treatment for all the kids.
Treatment meetings, team meetings, training, staff
meetings, policy procedure.

Q. And do you work directly with each of the
individuals, these students?

A. I would say indirectly at this point from my

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position. I mean, I'm involved but it's harder these
days overseeing six houses, 60 kids.

Q. How long have you had the role of director of
residential operations; did you say three years?

A. Correct.

Q. Has it always been around 60 kids?

A. It fluctuates each year. So we've dropped down
into the 40s and up to 64, 65. So it depends on the
time of year. Discharges at the end of the school year.
Kind of picks back up in the fall, so.

Q. And do the kids have access to you if they need
to reach you?

A. No. Unless it was e-mail. I guess they could
e-mail me at work.

Q. Do they have your personal e-mail?

A No.

Q Just your work e-mail?

A. Correct.

Q Do they have your personal phone?

A No.

MR. BRODERICK: Kevin, I think we're getting
a little far afield of consent in getting into the
phones.

MR. POLANSKY: Well, I don't. I'm not

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asking whether he's received phone calls from them, I'm
asking whether they have access to his information.
MR. BRODERICK: Okay.
Q. Do they -- do they know where you live?
A. No.

Q. So none of the 60 kids knows your personal

A. No.

Q. Do you know whether any of the, other than
resident staff, has ever provided your personal
information to any of the kids? And by "kids" I mean
students.

A. Could you repeat that?

QO. Sure. So -- I mean, over the course of the last
three years I understand that there are six residence
halls, and you've seen it from, go from 40 kids to 60

kids; right?

A. Uh-huh.

Q. And how many staff work for you?

A. This year's budget has about 86 in it.
QO. You have 86 staff members?

A. Uh-huh.

Q. Do you know if any of those 86 staff members has

ever provided your personal information to any of the 60

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kids at any given time?

A.

Q.

I don't know.

Do the 86 staff members have access to your

personal e-mail? In other words, do they know your

personal e-mail address?

A.

Q.

>

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Not that I know of. They wouldn't.
Do they know where you live?

Some might.

Do they know what kind of car you drive?
Yes.

What kind of car do you drive?

2012 Nissan Ultima.

Do they know your personal cellphone?
Staff?

Yes.

Some.

Of the 86 how many do you think have access to

your personal cellphone number?

that's

I don't know.

More than half?

I'm not sure.

Well, is there, is there any sort of directory
given to them providing that information for you?

No.

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Q. What about with your personal e-mail, is there
any directory that's provided -- strike that.

So you're the director of residential operations
and underneath you there are 86 staff members; is that
right?

A. Yes.

Q. Is there a directory provided to staff members to
see what the, the hierarchy of the residential
operations is?

A. It's not a hierarchy, but through our phone
system there is a directory.

Q. So they can do a dial by phone or dial by number?
Strike that. A dial by name.

A. Well, we use extensions. So if you're in any of
the locations on campus you could hit 4900 and it would
come up to me.

QO. If there is an issue after hours at the residence
hall do the staff members have access to you to get in
touch?

A. Yes.

Q. And how would they get in touch with you?

MR. BRODERICK: Kevin, this has nothing to
do with consent. And you're definitely just going for

the residential business distinction here.

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MR. POLANSKY: I'm actually not. I haven't
asked about any of them. I mean, I could. I have his,
you know, certain of his telephone numbers so I know
there have been calls. But I'm not going for that. I'm
going for who has access to his personal information.
I'm not going to get into how many calls he's received
or anything like that, I mean, that's all reserved. So
I think it's --

MR. BRODERICK: You already asked him and he
said he wasn't sure, but they, they have access. But
getting into how many calls he gets.

MR. POLANSKY: I didn't ask that question.
That's what I'm saying, I'm not asking that question.

MR. BRODERICK: Well, you asked the question
do they have access to you after hours, and you said yes
and you said do they call you.

MR. POLANSKY: Right.

MR. BRODERICK: That's why I spoke up. The
access to the information. I mean, I guess if the
theory is anybody who has this information could have
put it in on the Internet, that -- there's not much of a
limiting principle to, "hey, we have his consent, here
it is. Did anybody put in this consent that we say we

relied on." "They" being QuoteWizard.

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MR. POLANSKY: Okay. So if you want me to,
to end the line of questioning I'll just, I'll ask this
question and just, just to be clear.

QO. So if -- so if one of the 86 staff members needed
to reach you after hours they can do so?

A. Could you repeat that.

Q. Sure. If one of the 86 staff members needs to
reach you after, after hours, they could reach you?

A. Well, again, I don't know how many know my phone
number, so. I can't answer that.

I -- I could answer it in another way, I could
say that I have 11 administrators that work for me and
I'm pretty sure they know how to get in contact with me.

Q. Okay. So the 11 administrators could get in
touch with you if they needed to?
A. Correct.

Q. As far as the Nissan Ultima, you said that's a

A. Yes.

Q. And does the school pay for that?

A. No.

Q. Does the school reimburse you for mileage or gas?
A. If I ever went somewhere I could put in for

mileage, but that doesn't happen.

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Q. Okay. So regular back and forth to the school
they don't pay for, for mileage or gas?

A. No. No. If we had to go for a meeting, say,
somebody was hospitalized somewhere and we didn't have
access to a work van, if I drove I could put in for
mileage.

Q. What about insurance, do they pay for insurance?

A. No.

Q. Do they reimburse you for insurance?

A. No.

Q. So you acquire your insurance on your own?

A. Yes.

Q. By the way, how far is your house from the
school?

A. 35 minutes.

QO. One way?

A. Yes.

Q. Does your -- does your -- does the school give
you a work cellphone?

MR. BRODERICK: Kevin, I'm not going
to -- don't -- don't answer, Joe. This is way outside
the, whether he gave consent. It's about a topic that
we specifically objected to and I'm not going to let him

answer questions about what is clearly a question about

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whether it's a residential or a business phone. That's
beyond the scope of the limitation on discovery that you
all asked for and got from the, got from the Court.

MR. POLANSKY: Fine. I would object to
your, the way you've described your objection, but it is
what it is.

Q. What's your date of birth?

A. 4/22/1979.

Q. And what's your cellphone number?

A. (508) 353-9690.

Q. And what's your e-mail address?

A. Jmantha7@yahoo.com.

Q. How long have you had that e-mail address?
A. As long as -- as far back as I can think.

Probably college. Maybe even -- maybe even before.
Right around then. It was....

Q. Other than the e-mail address that you mentioned
for work earlier, do you have any other e-mail
addresses?

A. I think I've created a few in the past. Like, I
think I have a Gmail account, but I did that for, to try
to get a live document. You know, kind of like when we
were setting up today and you have to, you know, you

were sharing a document. But nothing that I use. Sol

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would say that I have a Gmail account. I don't even
know if I could get into it right now.

Q. Any other e-mail accounts, Hotmail; anything like
that?

A. Not that I know of.

Q. Who was your Internet service provider in 2019?

A. It's all through Comcast. It's the cable
company. Charter.

Q. Is your cable provider still Charter Comcast?

A. Yes. It's been the entire time since 2015.

Q. And do you have a secure wireless network?

A. Yes.

Q. How long have you had the Nissan Ultima, the 2012
Nissan Ultima?

A. I'm the only owner, so 2012.

Q. Okay. Does your wife have a vehicle?

A. Yes.

QO. What does she drive?

A. A Mazda CxX9. I think it's a '14 ora '15.

Q. Did she also buy that new?

A. No.

Q. When did she purchase that, that vehicle?

A. Three years ago.

Q. Has your household ever owned any other vehicles

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or --
A. Yeah.
OQ. -- leased vehicles?
A. No.

Q. Are there only two vehicles at your residence at
this time?

A. Yes.

Q. Is that the same for 2019?

A. Yes.

Q. Did you drive any other vehicles in 2019 other
than the Mazda CX9 or the 2012 Nissan Ultima?

A. Did I drive any other vehicle?

Q. Yeah. Did you borrow a friend or a family member
or anything like that in 2019?

A. No.

Q. Do you know anyone who drives a
Chevy Trailblazer?

A. Can you repeat that.

Q. Sure. Do you know anyone who drives a Chevy
Trailblazer?

A. No.

QO. What about in 2019 --

A. No.

Q. -- did you know anyone that -- let me just finish

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that question.

So in 2019 you also didn't know anyone who drove

a Chevy Trailblazer?

No.

Have you ever owned a mid 2000 Chevrolet truck or

No.

Do you know anyone in 2019 who owned or drove a

mid 2000 Chevrolet truck or SUV?

> Oo

Q.

No.
Have you ever filed for bankruptcy?
No.

Have you ever been pulled over for operating a

vehicle while intoxicated?

Yes.

When was that?
1997.

Anytime after that?
No.

As you sit here today is there anything else in

your driving record that may impact your ability to get

a more

A.

Q.

preferential insurance rate on auto insurance?
No.

Do you ever let any family members drive either

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of your vehicles?

A. My wife has driven my vehicle.

Q. Any other siblings or in-laws that have driven
the vehicles?

A. No.

Q. Have you ever visited the website
snappyautoinsurance.com?

A. Yes.

Q. And when did you do that?

A. After I brought up this case and my lawyer sent
it to me and asked me if I had ever visited this
website, I clicked on it, I looked at it, and I had
never seen it before.

Q. What computer were you using at the time to, to
view the website?

A. I think it was my phone.

Q. And what kind of phone do you have?

A. IPhone 8, I believe.

Q. How long have you had the iPhone 8?

A. For a few years now. Almost two, two full years,
I think.

Q. Okay. So you would have had that phone in 2019?

A. Yes.

Q. Did you have any other phones in 2019?

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A.

Q.

reason

Oo PrP WO

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No.

And I'm going to ask this question again for the
of finding out how many devices you have.

Do you have a work phone?

No. Could you be more specific with that?

Sure. Do you have a work cellphone?

No.

Other than your work computer, your iPhone 8, do

you have a computer at home?

A.

Q.
wife's

A.
school

Q.

A.

Yes.
And what type of computer is that?

I have a laptop. It's a Dell. I have two of

Let's start with, is one yours and one your

?

Yes, I guess you could say that. I use one for
and she uses hers for pictures.

How long have you had the two Dell laptops?

This -- the one that I use, about a little less

than two years. I got this when I started grad school,

I use
Q.
A.

Q.

for school.
Is this the laptop you're currently on?
Yes.

And what about the laptop that you use for

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pictures; when did you get that?

A.

I've had it a long time. At least -- at least

five years I would say.

Q.

So both of those laptops you had during the

duration of 2019?

A. Yes.

Q. Any other computers at the home that were in use
in 2019?

A. No.

Q. Does your wife also have a cellphone?

A. Yes.

Q. Do you ever use her cellphone?

A. No.

Q. How about tablets, do either you or your wife
have a tablet, like an iPad or something like that?

A. Yeah, my son has one.

Q. How about yourself, do you have a tablet?

A. No.

Q. No iPad?

A. Well, it's connected through, you know, my four

year old doesn't have an iTunes account, if you will,

so.

Q.

So his account is connected to your account. Or

you set up an account for him on the tablet?

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A. Yes.
Q. But neither you or your wife use an iPad or

Amazon Fire or anything like that?

A. No.

Q. Do either you or your wife use his iPad -- is it
an iPad?

A. Yes.

Q. Do either you or your wife use his iPad to browse
the Internet?

A. No.

Q. Have you ever?

A. Back when we first got it probably seven years
ago. I'm guessing six years ago.

Q. The iPad you got for him is six years old?

A. I would guess around that, seven -- six, seven
years.

Q. Okay. Now, I want to go back to when you
received the link to the snappyautoinsurance.com
website. Do you recall when that was?

A. I do not.

Could it have been September of 2019?

Q

A. No.
Q Do you think it was before then or after then?
A

It would be after.

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Q. Why do you think that? Why did you say "no" so
demonstrably?

A. I think that I brought this forward in August at
some time and it took a fair amount of time to get that
information back. So I'm just kind of, I don't know,
using commonsense, I guess, in my head, that, kind of
think of a timeline, and I don't think they got back to
me that soon with that information.

Q. When they sent you the link to the website was it
operational? Was the website -- could you use it?

A. I only clicked on the link and just looked at the
homepage of it and that's it. I didn't really -- I
didn't click on anything to explore it, I just looked at
it.

Q. And tell me what you saw on the homepage?

A. I don't even remember.

Q. Did you save what you saw?

A. No.

Q. Does your web browser on your phone still have
the link or the date that you viewed the website?

A. I would have to ask -- I did give up all of my
devices.

Q. You gave your devices to who? And again, before

you start answering these questions, I'm not asking for

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any communications you've had with your attorneys. But
I'm going to ask you questions about your devices; okay?
A. Okay.

Q. So when did you give away your devices?

A. When did I give them up?
QO. Yes.
A I don't have that exact date either. Over the

last, probably, two months ago.

Q. Did you get your devices back?

A. Yes. And I didn't -- well, I didn't send them my
devices.

Q. Okay. What do you mean by that?

A. So I was able to connect my phone to the computer
and they were able to read my phone through the
computer. So remotely. And then my hard drives. They
sent me a hard drive and were able to copy remotely,
again, and then I sent the hard drive back to them.

Q. Okay. So they were able to copy the hard drive?

A. To my knowledge, yes.

Q. And what devices did they, did they copy?

A. Both laptops and my iPhone.

Q. So just to be clear for the record, the laptops
you're speaking about, the two Dell laptops that are

used in your home?

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Yes.
And you think that was done two months ago?
Roughly.

And they also copied what was on your cellphone?

> oO Pp OD

Correct.

Q. Did you save your browser histories from, you
know, August of 2019, or had they been purged before you
gave your cellphone to your attorney?

A. So that sounded like several questions.

Q. Sure. Do you want me to break them up?

A. Yes. The first one is you said save my browser
history?

Q. Yep.

A. So, I've never deleted it.

Q. So you've never deleted your browser history for
your two laptops?

A. Not that I know of, no.

Q. What about for your phone?

A. No.

Q. Did you give them access to your work computer to

A. No.
Q. Do you know how long your browser history is

cached for or stored on your laptop?

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A. I do not know.

Q. Are you aware of any settings in which the
history is deleted after a period of time?

A. I'm not.

Q. I'm going to show you a document, I believe.
Give me one second.

When you went on the Snappy Auto Insurance
website you said that you just looked at the homepage;
did you flip through any other pages?

A. No.

Q. Prior to having been sent a link for this
website, did you recall the name Snappy Auto Insurance?

MR. BRODERICK: Objection.

QO. You can answer.

A. I have never heard the name Snappy Auto
Insurance.

Q. Prior to reviewing the website from the link did
you have any recollection of having gone on a website
called snappyautoinsurance.com?

MR. BRODERICK: Objection.

A. No recollection.

Q. I want you to go onto the Veritext Exhibit Share
and go into the Shared Exhibit tab, or I believe it's

called Marked Exhibit tab. And there should be an

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Exhibit 9.

MR. BRODERICK: I'm not seeing that on my
end, Kevin. And when I hit "go to folder" when I hover
over it it says, "you do not have permission to view
this folder."

MR. POLANSKY: On the Marked Exhibit tab?

MR. BRODERICK: Yeah. On this -- yes. It
was shared by Chris Caselden.

MR. POLANSKY: Can you -- can you click on
it? What happens if you click on it?

MR. BRODERICK: Nothing. It says, "folder
is empty."

MR. POLANSKY: Try refreshing.

MR. BRODERICK: Okay. Hold on here.

MR. POLANSKY: Why don't we go off the
record for a moment.

MR. BRODERICK: Sure.

VIDEOGRAPHER: Off the record 11 o'clock.

(Short break taken.)

VIDEOGRAPHER: Back on the record at 11:01.

(Deposition Exhibit No. 9 introduced.)

Q. Mr. Mantha, I want you to turn your attention to
a document that's been marked as Exhibit 9 for

identification. And let me know if you've seen this

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document before.

A. (Witness reviewing.) Yes.

Q. And is that your signature on page 8 of 9 of
Exhibit 9?

A. Yes.

Q. I want to turn your attention to answer to
Interrogatory No. 9. Let me know when you're there.

A. Okay.

Q. And it says that you had visited Snappy Auto
Insurance approximately on September 23, 2019.

Do you see that?

A. Uh-huh.

Q. Does that refresh your memory as to when you may
have viewed the Snappy Auto Insurance website?

A. Yes.

Q. And do you think that this date is accurate as to
when you reviewed it?

A. I would think so, then.

Q. After visiting the website on or around
September 23rd, 2019 did you print out any of the web
pages from snappyautoinsurance.com?

A. No.

Q. Did you save your browser history after accessing

this website on September 23rd, 2019?

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A. I never deleted it.

Q. So if you never deleted it the browser history
would have been in the same form when it was transferred
by your attorneys about two months ago?

A. It should be.

Q. Did you ask any -- strike that.

Did you ask your wife Melisa whether she had ever
been on the website snappyautoinsurance.com?

A. Yes.

Q. And what did she say?

A. "No."

Q. Did you ask any family members whether they've
ever visited the website snappyautoinsurance.com?

A. No.

Q. That was a bad question. No, they haven't
visited the website or, no, you never asked them whether
they visited the website?

A. I never asked anyone.

Q. Have you ever visited the website called
unitedquotes.com?

A. Could you repeat the website.

Q. Sure. Unitedquotes.com.

A. I've never heard of it.

Q. Have you ever heard of the website

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autoinsurerquotes.com?

A.

Q.

No.

Do you know whether you've visited either United
or autoinsurerquotes.com --

Not to my knowledge.

-- in 2019?

Sorry. Not to my knowledge.

Is it fair to say that you can't recall every

website that you've ever visited in 2019?

A.

Sorry.

Q.

That's fair.
(Inaudible)
MR. POLANSKY: What's that?

MR. BRODERICK: I'm just clearing my throat.

Do you know how far back your Internet browser

goes for your laptop you currently own?

A. I do not.

Q. Do you know whether it goes all the way back to
June 2019?

A. It does not. I don't -- when I had it sent in

they said it went back maybe a year. I don't know

exactly. That's why I can't answer the question.

Q.

If you gave them your Internet browser two months

ago, which would have been May of 2020, and it went back

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a year to May 2019, wouldn't that include June of 2019?
A. It would.
Q. And do you have any idea why your browser does
not include the information or the web history for
June 2019?
A. I don't.
Q. Did the browser history change at all after
giving your laptops up to your counsel?
MR. BRODERICK: Objection.
A. I'm not sure I understand the question.
Q. Sure. Was your -- is your web history still
available now that you've given -- strike that.
Is your web history still available for the same
browser history as when you gave it to your counsel?
MR. BRODERICK: Objection.
A. Yes. I haven't changed anything.
Q. Do you know if anybody has changed anything in
your browser history?
MR. BRODERICK: Objection.
A. Not to my knowledge.
Q. But you don't believe that at the time that you
gave your devices to your counsel it didn't include June
of 2019?

MR. BRODERICK: Objection.

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A. I believe they said it didn't go back that far.

Q. Have you ever reviewed your browser history back
to June of 2019 since this litigation has started?

A. No.

Q. Did you ever review your browser history at
anytime to determine whether you went on the website
snappyautoinsurance.com?

MR. BRODERICK: Objection.

A. I did make an attempt, but I am not tech savvy.

Q. What was the attempt you made? Explain that to
me.

A. I don't even recall how to do it. I've looked at
the browser history, I would have to look over at it
right now to try to tell you.

MR. BRODERICK: Well, no, don't -- we don't
want you to do homework on the fly. You just answer
questions.

Q. Can you explain what you did to search the
browser history?

A. I can't off the top of my head. That's how
little I know of this.

Q. Did you click the browser history drop down
button to see what was in there?

A. Possibly.

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Q. Do you recall running any searches on your own?

A. I don't.

Q. Do you recall going into any of your data files
or folders on your, on your computer to see whether they
included cookies?

Do you know what a cookie is?

A. No. And no.

Q. So the search that you performed on the web
history was limited; is that right?

A. Yes.

MR. BRODERICK: Objection.

Q. Do you know how far back your browser history
actually goes if it doesn't include June of 2019?

A. No.

MR. BRODERICK: Objection.

Q. Does it include August of 2019?

A. I don't know.

Q. But you are aware that it doesn't include June of
2019?

MR. BRODERICK: Objection.

A. Yes.

Q. Other than, than your counsel or agents has
anyone else ever reviewed your browser histories?

A. No.

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Q. Okay. What about your cellphone, has anyone gone
into your cellphone to review the histories?

A. No.

Q. Now, after, after you received -- strike that.

Do you recall when you received text messages
from QuoteWizard?

A. I believe it was in August.

Q. Of 2019?

A. Yes.

Q. Now, after receiving text messages did you, did
you make any attempts to save your browser history at
that time or image it?

A. No.

Q. How come?

A. (No response. )

Q. Did you -- did you hear my question?

MR. BRODERICK: I didn't hear it either,
Kevin.
MR. POLANSKY: Oh, okay.

Q. How come you didn't take any attempts to image

your browser history after receiving a text message?
MR. BRODERICK: Objection.
A. I didn't think anything of it.

Q. Well, at the time of receiving the text messages

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were you rethinking the litigation?
MR. BRODERICK: Objection.

A. No.

Q. You weren't thinking of litigation at the time of
receiving the text messages?

MR. BRODERICK: Objection.

A. You say "messages," so I guess after the second,
and then I believe the third, then it kind of, I thought
about it, that I didn't consent to this, I didn't know
who this was. So I took screen shots of the text
messages. Nothing with my browser.

Q. And how come you didn't take any screen shots of
your browser at that time?

MR. BRODERICK: Objection.

A. The text messages is what I had.

Q. Well, you had your browser at that time, didn't
you?

MR. BRODERICK: Objection.

A. Correct.

Q. And do you know if the browser went back to June
of 2019 at that time, at that point in time in August?

MR. BRODERICK: Objection.
A. In August did my browser go back to August?

Q. No, no. In August did your browser history go

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back to June of 2019?

A. I don't know. I don't know how long it goes for.

Q. But you made no attempts to delete any material
from June of 2019?

A. Never.

Q. Does your -- does your wife have access to your
e-mail? Your personal e-mail account.

A. Unless it was left up, like, if you, you know,
open the laptop maybe or something and it was there, or
my phone was open and it was there. But, like, access,
no, she doesn't know the password or anything.

Q. Do you know of anybody that knows the password to

your personal e-mail address?

A. No.

Q. No family members?

A. No.

Q. Does your wife ever use your cellphone?
A. No.

Q. Does anyone other than you ever use your
cellphone?

A. No.

Q. What about back in 2019, was that the same?

A. Correct.

Q. At home, other than Melisa and yourself, does

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anybody else have access to your, either of your
personal computers?

A. No.

Q. No family members of yours?

A. No.

Q. What about family members of hers?

A No. Can I change that answer?

Q. Yeah.

A Her mother watches our kids a few days a week, so
I guess she's here.

Q. So your mother-in-law might have access to the
computers?

A. She'll come over from 8 to 4 and watch the kids
for the day and then go home, so.

And what's her name?

Donna.

Q
A
Q. Last name?
A Banks.
Q And did she watch your kids back in 2019?
A Yes.
Q. In this case have you ever seen the documentation
of the information provided by a company called

RevPoint?

A. Not to my knowledge. I'm not sure what that is.

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Q. Okay. If you can refresh your Exhibit Share
folder. I'm showing you Exhibit 10.

(Deposition Exhibit No. 10 introduced.)

Q. And let me know when you're there.

A. (Witness reviewing.) I'm there.

Q. I'll represent to you that this is a response to
a subpoena received by your counsel from a company
called RevPoint Media. And I want you to turn to page 3
of 3. Let me know when you're there.

A. (Witness reviewing.) Okay.

Q. Okay. Are you aware in this case of
QuoteWizard's purchase of a lead with your information
from any other company?

MR. BRODERICK: Objection.

Q. In other words, do you understand how QuoteWizard
obtained your information?

A. I don't know exactly. But I heard it was, they
got it from somebody who possibly got it from somebody.

Q. Okay.

A. You know, I'm not sure of the names and how it
all works.

Q. And that's fine. And that's the general gist I'm
getting to.

So this is one of those companies that it's

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QuoteWizard's position that it purchased it from. Okay?
A. Okay.
Q. So I want to go through the data that RevPoint
provided to your attorneys; okay?
A. Uh-huh.
Q. And find out what's, what's accurate and what's
not.
And based on what you've testified to far your

name is Joseph Mantha, right, or Joe Mantha?

A. Yes.

Q. That's your correct address; right?

A. Correct.

Q. Correct phone number?

A. Yes.

Q. Correct e-mail?

A. Yes.

Q. What about the IP address?

A. No.

Q. Do you -- do you know what your IP address is?
A. I do.

Q. And how did you find that information out?
A. In the, like, a Google search. I just wrote

"what's my IP address."

Q. And what is your IP address?

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MR. BRODERICK: Let me -- hold on, Joe.
We're not going to give his IP address. We've taken
that position consistently in the discovery, so.

MR. POLANSKY: So your position is you will
not allow him to testify as to what his actual IP
address is?

MR. BRODERICK: That's right.

Q. But your -- based on your testimony, Joe, this is
not your IP address?

A. That is not my IP address.

Q. Okay. Driver number 1: Joe Mantha. That's you.

Birth date appears to be inaccurate; is that

A. That is not accurate.
Q. And do you recognize this birth date at all?
A. I do not.

Q. And marital status in 2019, you were married;

A. Yes.

Q. So this is inaccurate?

A. Yes.

Q. Relationship, I guess that's the person that
entered the information itself. Gender: Male.

Occupation: Professor, college degree. Professional

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college degree.

A.
Q.
A.

Q.

a doctorate degree,

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What is your educational history?

I have an associates and a bachelor's degree.

Where did you receive those from?
Becker College.

So you did receive a college degree.

No.

What about

did you receive one of those?

And you said you never filed for bankruptcy;

No.

And is your license -- was your license active in

Yes.

Registered in Massachusetts?
Yes.

Was your license ever suspended?
Back in 1997.

For how long?

I don't -- I don't remember.

And did you receive your license at age 16?

I think 17.

And you -- so you said that you own your home; is

that right?

A.

Yes.

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So this is inaccurate. It says "rent;" right?
Correct.
"Months at residence" is that, is that accurate?
I purchased in 2015. So, no.

Months at employer: Five. So that's inaccurate;

That's inaccurate.

Have you ever received any tickets? Driving

tickets.

A.

Q.

A.

Yep.
For speeding?

I don't think I ever got one for speeding. I got

one for not stopping, supposedly, for a school bus.

Q
A.
Q.
A

Q.

How long ago was that?

Early 2000s, maybe. 2001, 2002.
And that's a while ago?

Yes.

And you testified that you don't own a 2005

Chevrolet Trailblazer; right?

A.
Q.
A.
Q.

a 2005

I did. I did testify to that. I don't.

And you don't own it; correct?

No. Correct.

And, again, do you know anyone who has ever owned

Chevrolet Trailblazer?

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A.

Q.

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No.

And just quickly, on the right-hand side there's

some additional information. How do you garage your

vehicle?

A.

Q.

Say that again.

Sure. How do you -- how do you park your

vehicle; is it in a garage, is it on the street, in the

driveway?

A.

oO PY DO

Driveway or garage.
And you said you own your vehicle; is that right?
Yes.

And the use of your vehicle, what's that, what's

the primary purpose?

A. Every day.

Q. So work, pleasure, everything?

A. (Witness nods in the affirmative.)

Q. Who -- who is your insurance with now?

A. MAPFRE.

OQ. And who was it with in 2019?

A. The same.

Q. Have you ever had insurance with any other auto
insurer?

A. Yes.

Q. Who's that?

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A. I've had Arbella. I think I had another one when
I was younger, maybe like a Commerce or something
before. Which I think might be them now.

Q. How long have you had MAPFRE?

A. At least six years or so. I think I even had
them before I started this policy. I started this
policy after I got married in 2013 at some point when my
wife and I went on the same insurance.

Q. And since 2013 you believe you've had MAPFRE as
an insurer?

A. Yeah, between 2013 and 2015 I would say. I don't
know the exact timeline because we ended up doing the
two cars, her wedding ring, and the house when we moved
all in one.

QO. Like a bundle?

A. Yeah.

Q. And how do you obtain insurance; do you have a
broker, do you have an agent?

A. Triple A.

Q. And how do you obtain it through them?

A. I think I would have called them and then they
set me up.

Q. Have you ever searched for insurance quotes

online?

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A. No.

Q. What about in 2018, did you search for insurance
quotes at that time?

MR. BRODERICK: Objection.

A. No.

Q. Do you know if your wife has ever searched for
insurance quotes online in 2019?

A. I think I asked her and she said no. I'm the
primary, you know, I set it all up and, from Triple A
and all of that, so.

Q. What about calling Triple A, did you, do you
recall ever calling them in 2019 searching for
competitive insurance quotes?

A. No.

Q. Have you ever had a policy with Allstate
Insurance Company?

A. Allstate?

Q. Yes.

A. No.

Q. Do you know the, the periods of time of your
policy, the effective and expiration date?

A. I don't.

Q. Do you know when it comes up for renewal every

year?

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A. I can't even guess.

Q. So we can put that exhibit away.

MR. POLANSKY: Ted, I am going to move on to
Plural Marketing's responses and, again, inquire whether
anyone needs a break before I do that.

MR. BRODERICK: Yeah, I'd love to grab a
drink.

MR. POLANSKY: Okay. Do you want to take
five, ten minutes before I start asking questions?

MR. BRODERICK: That would be great.

MR. POLANSKY: Okay. So let's go back on at
11:40. Okay, everyone?

VIDEOGRAPHER: This concludes media number 1
of the videotaped deposition of Joseph Mantha, the time
is 11:28. We are off the record.

(Short break taken.)

VIDEOGRAPHER: This begins media number 2 of
the videotaped deposition of Joseph Mantha. The time is
11:40, we are on the record.

QO. Mr. Mantha, before we went off the, off for a
short break we had been discussing RevPoint's response
to a subpoena served by your attorneys.

I now want to turn your attention to another

subpoena response, this time provided by Plural

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Marketing Solution.
If you can go into Exhibit Share and open
Exhibit 11, okay.
(Deposition Exhibit No. 11 introduced.)

Q. And tell me when you have the Exhibit 11 open.

A. I have it open.

Q. Okay. Now, turning your attention to page 15 of
20. Tell me when you're there.

A. (Witness reviewing.) Okay.

Q. So like the last one I just want to go through
some information that was provided to us by Plural
Marketing Solutions; okay?

A. Uh-huh.

Q. At the top you see where it says
Snappyautoinsurance.com. That's the website we
discussed earlier that you don't recall visiting prior
to September 23rd; is that right?

A. Correct.

Q. Are you familiar with the person by the name of
Adam Brown?

A. I am not.

Q. Have you ever seen that e-mail address before?

A. I have not.

Q. Under where it says in bold, "Applicant TCPA

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Audit."

A.

Q.

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Again, you see your first and last name?
Yes.

Okay. And do you see your address, and that

appears to be correct; is that right?

A.

Q.

Correct.
And your phone number appears accurate; right?
That's correct.

Okay. Your phone type appears to be accurate;

Mobile/wireless, yep.

Now, the phone provider, I think you testified

that you have Charter; is that right?

A. That's my Internet provider.

Q. Who is your phone provider?

A. Verizon.

Q. How long have you had Verizon as a phone
provider?

A. As far as I can remember.

Q. So in 2019 you had Verizon?

A. Correct.

Q. Have you ever had New Cingular Wireless?

A. Cingular Wireless? I think that's the first
phone I ever had. Late '90s, maybe. Maybe '98, '99.

Q. Do you know how long you had them for?

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A. I don't.

Q. Now, it says, "applicant phone DNC status: Not
listed as DNC." Is that accurate or inaccurate?

A. That's inaccurate.

Q. Is your phone registered on the National Do Not
Call Registry?

A. It is.

Q. And how long has it been on that registry?

A. I'm not sure exactly.

Q. And that's your correct e-mail address; right?

A. Yes.

Q. And the e-mail provider Yahoo is accurate; right?

A. Yep.

Q. The e-mail status: Valid and confirm. Well, we
know the e-mail works, that's valid; right?

A. Yes.

Q. Is the IP address valid?

A. No.

Q. Okay. So that does not currently match your
current IP address?

A. That's not my IP address.

Q. You just testified that your IP, excuse me, your
phone provider is Verizon.

Have you ever been located in Morristown,

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New Jersey?

No.
Have you ever visited Morristown, New Jersey?
Not to my knowledge, no.

Do you know anyone that lives in Morristown,

New Jersey?

A.

Q.

I don't.

Then it says, "applicant IP address coordinates."

I'm not sure if you're familiar with these. Do you know

what your IP address coordinates are?

A.

Q.

that's

A.

Q.

2019;"

Q.

I do not.
Source of application, that's the website. And
the website you went on in September; right?
MR. BRODERICK: Objection.
I think it is.
Now, it says, "date of application: June 26,
right?
MR. BRODERICK: Objection.
I'm reading that.
And as you testified --
That's what it says. Sorry. Go ahead.

Sure. As you testified a moment ago you don't

have your June 2019 browser history; right?

A.

I do not.

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Q. Do you know when the last time the June 2019
browser history was available?
MR. BRODERICK: Objection.
A. I don't.
Q. Do you recall when you first learned that your
June 2019 browser history was unavailable?
MR. BRODERICK: Objection.
A. I don't recall the date that I had that
conversation.
Q. Do you know the month? Was it two months ago,
three months ago?
A. I don't remember exactly.

Q. Was it the same time that you gave your devices

A. It was afterwards.
Q. After you gave the devices up. Okay.

And are you aware of whether your July 2019

browser history exists?
MR. BRODERICK: Objection.

A. I don't.
Q. What about August? Does August exist?
A. I'm not sure.
Q. Have you ever gone back to see whether your

August browser history exists, August 2019 browser

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history exits?
MR. BRODERICK: Objection.
A. I attempted it that time that I spoke of before.
Q. But as you sit here today you don't, you don't
know whether July and August 2019 browser history
exists?
MR. BRODERICK: Objection.
A. I only know what they told me after I sent my
information in.
Q. I don't want to -- I don't want to know any
communications with your counsel.

Now, the last sentence here it says, "applicant
agreed to receive promotional e-mails, calls, texts,
postal mails from third parties regarding his insurance
application."

Do you see that?

A. I do.
Q. Have you ever received promotional e-mails
regarding insurance quotes?
MR. BRODERICK: Objection.
You may answer.
A. Have I ever received any e-mails?
Q. Yeah, let's narrow that down to, let's say in

2019.

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A. I'm not sure.

Q. Well, what do you recall -- sorry.

A. I guess I was going to say I have a Yahoo account
and odd e-mails come in. And when I say that, just
random sites come in at different times. I just don't
look at them.

Q. Do you know whether any of those --

A. Junk mail, if you will.

Q. Do you know whether any of that junk mail
includes insurance quote e-mails?

A. I'm not sure.

Q. Do you ever hit unsubscribe to those e-mails?

A. I don't open them.

Q. Okay. We can put Exhibit 11 away.

Now, do you recall the text messages you received
from QuoteWizard?

A. Somewhat, yeah.

Q. And you took screen shots of those, those text
messages; is that right?

A. Uh-huh. Yes.

Q. Okay. I'm going to show you as Exhibit 12 those
text messages.

(Deposition Exhibit No. 12 introduced.)

Q. Tell me when you've opened up Exhibit 12.

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A. Okay.

Q. And is this a portion of the text messages you
received from QuoteWizard?

A. It looks that way, yes.

Q. Now, on the right-hand side of the exhibit in
green those are your responses; right?

A. Correct.

Q. So you, you physically texted those, those
entries; right?

A. Yes.

Q. And so turning to the very top of page 1 of
Exhibit 12, and I'll reference Exhibit 12 is a two-page
exhibit. You wrote, "how do I get a quote;" right?

A. Yes.

Q. And what was the purpose of asking that question?

A. To find out who was texting me.

Q. Didn't you know who was, who was texting you at
that time?

A. No.

Q. You had no idea that these text messages came
from QuoteWizard?

A. No.

Q. And so you -- it appears that you scheduled the

call with QuoteWizard to find out who was texting you;

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is that right?
MR. BRODERICK: Objection.

A. Yes. Yes.

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And did you participate on that call?

A. No.

Q. Why not?

A I didn't answer that call.

Q. And how do you know that call came from
QuoteWizard?

A. I did not find out that information.

Q. And in this text string does it identify whether
QuoteWizard was involved in these text messages?

A. No.

Q. So if I understand correctly, you responded about
getting a quote to find out who was texting you; is that
right?

A. Correct.

Q. And then you scheduled a call with that, with
that company; right?

A. Yes.

Q. But you never took the call to find out who was
texting you?

A. No.

Q. Why not?

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A. Because at that point that's when I sought out
counsel.

Q. So you sought out counsel prior to the call of
August 23rd at 1:00 p.m.?

A. No.

Q. Earlier than that?

A. No.

Q. Did you have counsel at the time of texting
QuoteWizard?

A. No.

Q. How long after these text messages did you obtain
counsel? And again, I'm not asking you about what was
discussed, I'm just asking you when did you obtain
counsel.

A. Sure. I'm not sure of the exact date.

Q. Was it a matter of days or weeks?

A. It might have been -- I don't know exactly. Days
or a week. I'm not sure.

QO. Was -- was it months?

A. No.

QO. Was it more than one week?

A. I don't know.

Q. Had you ever received text messages like these

before?

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A. Not like -- not like this one.

Q. What was it about this one that was different?

A. They just kept coming through. It said,
"Amanda." "This is Amanda."

Q. Did anyone -- did anyone help you in responding
to these texts?

MR. BRODERICK: Objection.

Q. You can answer.

A. What was the question?

Q. Sure. Did anyone help you to respond to these
text messages that you received from QuoteWizard?

A. I had talked to a friend.

Q. Who was the friend?

A. Steven Novia.

Q. And who is Steven Novia?

A. He's a friend that I grew up with.

Q. Where does he live?

A. I don't know exactly. In Massachusetts.

Q. Do you know what town?

A. He just moved. Down towards Boston. I'm not
sure.

Q. And what did you talk with Steve about?

A. We had talked in the past about this type of

matter. We talked about the TCPA and just a random

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conversation that we had.

Q. And how long in the past? How much earlier?

A. It was over the summer. I think I remember him
coming over and it was the summer. I think we were
swimming and grilling, et cetera.

Q. How did the conversation come up?

A. It was random. I don't recall exactly how it had
come up. But we had started talking about phone calls
that you get or that you shouldn't get. And then we
talked about, like, text messages as well that aren't,
you're not supposed to get. He just told me, he told me
a little bit more about....

Q. And what did he tell you?

A. Just about the TCPA, and.

Q. And had he ever, to your knowledge, do you know
if he's ever filed a lawsuit under the TCPA?

A. I believe he has.

Q And do you know who his attorneys were?

A He introduced me to Alex.

QO. And was -- was Steve successful in his lawsuit?

A I'm not sure.

Q Do you know if he got any money as a result of
his lawsuit?

A. I'm not sure.

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Do you know how many lawsuits he's had?

Q

A. I do not.
Q How do you spell his last name?

A N-O-V-I-A.

And -- and when did he introduce you to Alex?
Right around this time.

Before or after receiving the text messages?
After.

Q. Had you spoken to Alex before receiving the text
messages?

A. No.

Q. After receiving the text messages did you, did
you call Steve and let him know that you received the
text messages?

A. I believe I did.

Q. And what did you say to him?

A. I just said, "hey, remember we were talking about
that, I just got these texts." Something along those
lines.

Q. And what did he say?

A. I don't -- I don't recall. I think I said
something about, you know, "do these fit the criteria"
or something like that. And I didn't -- he just gave me

Alex's e-mail address.

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Q. And did you e-mail Alex?
A. I did.
Q. And did Alex help you respond to this text, the

sender of the text?

MR. BRODERICK: I'm -- I'm going to instruct

him not to answer that both on the ground that you're
asking about attorney-client privilege communications,
but also it has nothing to do with consent.

I've been trying to stay quiet, but we're
pretty far afield from consent on, you know. We're
getting into why he brought the lawsuit, his
relationship with people who have nothing to do with
consent. So I'll just ask you to try to bring it back
to the topic at hand which is his purported consent.

MR. POLANSKY: I think it's very much
relevant to consent. So I'm going to keep asking. If
you want to object you can object.

Q. So did anyone help you to respond to these text
messages?

MR. BRODERICK: Objection. Asked and
answered.

Q. You can answer.
A. No. The only person I had talked to was Steve

about the text.

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Q. And did Steve assist you in drafting responses?

MR. BRODERICK: Objection. Asked and
answered.

MR. POLANSKY: I don't think so.

Q. But you can answer.

MR. BRODERICK: It's also -- what does it
have to do with consent? This is after he supposedly
consented.

MR. POLANSKY: Right. So we're -- we've
talked about, you know, whether he's given consent,
whether, you know, this, this could have been something
that he provided knowing full well that, you know, he
has an interest in the TCPA. You know, whether this is
the type of lawsuit he intends to bring. I mean, it all
goes to consent.

MR. BRODERICK: No -- no, it doesn't. You
have a single document that you say is where he opted
in. And you're supposed to have his consent before you
text.

MR. POLANSKY: Right. But at this time
we've learned today that we actually can't go in his
browser history in June to see whether he gave his
consent because those no longer exist.

MR. BRODERICK: But you supposedly captured

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his browser, the browser history of whoever allegedly
filled this out and it doesn't match. I'm not sure
what's left to dispute.

MR. POLANSKY: Well, since, you know, we
can't go in his browser to see whether he provided
consent in June, I think it's a significant issue.

And his conversation happened with Mr. Novia
in the summer around that time to see whether, you know,
this is something he did provide consent. This is all
new information that we're gleaning and I have a right
to ask questions about it.

MR. BRODERICK: I'm going to try and let you
go, Kevin, but I'm not going to, I'm not going to, I'm
not going to tolerate too much outside the scope of the
very limited discovery.

MR. POLANSKY: Ted, if you didn't think that
Mr. Novia was relevant you wouldn't have provided his
name in the answer to interrogatories. You would have
objected like you did on the other bases about consent.
You provided Steve's name in the answers to
interrogatories, so clearly he's relevant. And I -- and
I can point you and direct you to that one if you don't
believe me.

MR. BRODERICK: No --

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MR. POLANSKY: But you wouldn't provide his
info if that didn't relate to the consent. So I'm
inquiring about the individual that you've identified in
discovery as relevant to the issue of consent.

MR. BRODERICK: I think those answers were
given, Kevin, prior to that limitation being --

MR. POLANSKY: No, you guys raised that
issue of consent the entire time. That has been an
issue that you've raised since the status conference.

So you could of -- you could have taken that
objection because you did in every other answer to
interrogatory. So I'm entitled to know what Steve knows
and what he discussed. If you want to limit him and
instruct him not to answer, that's fine, we'll take it
up in another status report.

What's your position? Am I entitled to ask
questions about Steve Novia or not?

MR. BRODERICK: Let me just take a -- can we
go off the record for a second, I just want to -- we'll
come back on and I'll put it on, I just don't want to
waste time.

MR. POLANSKY: Sure. We'll go off the
record,

VIDEOGRAPHER: Off the record at 12:03.

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(Discussion off the record.)
VIDEOGRAPHER: Back on the record at 12:14.

Q. So, Mr. Mantha, before we got into a back and
forth on one of the questions and took a break, I had
asked you whether Steve Novia had assisted you in
responding to the text messages that you were receiving.

Did he?

A. I sent him, I think, a -- I believe I called him
and sent him a message asking him about those original,
there's three, I believe, right, that said, "Amanda."

And I think he had said to me, "you need to know
who the company is." So that's when I texted to inquire
about that information, so.

Q. Okay. Did he respond to your text?

A. Again, I don't remember how we spoke.

Q. Do you still have your text messages if you, if
you texted him from that period of time?

A. Only in my phone records. I didn't screen shot
anything.

Q. When you say your "phone records" what do you
mean by that?

A. Through Verizon. That's the only way that I
would have the phone record.

Q. Okay. But you don't -- you don't still -- if you

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text somebody it doesn't show up whether you still have
a text from him around August of 2019?

A. No.

Q. Do you have any text messages with him in June of
2019?

A. Possibly. (Inaudible.)

Q. What's that?

A. We're friends, we talk, so I'm, I'm guessing that
there's a possibility in June of 2019 we had a
conversation.

Q. So you said the purpose was, the purpose in
responding was to find out the entity's name; is that
right?

A. Yes.

Q. But weren't you aware of the name from the
initial text from QuoteWizard?

MR. BRODERICK: Objection.

A. Did I know who it was right away?

QO. Yeah.

A. No. Not the second I got -- not right when I got
the text.

Q. Okay. I want to have you now turn to Exhibit 13.

(Deposition Exhibit No. 13 introduced.)

Q. Tell me when you're there.

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A. (Witness reviewing.) Okay.

Q. Okay. And on page 3 of 10. Turn to page 3 of 10
of Exhibit 13.

A. (Witness reviewing.)

Q. Tell me when you're there.

A. Okay. I'm here.

Q. And do you see on the bottom of that page the
text messages begin?

A. Uh-huh.

Q. Do you see where it says, "Joe, Amanda from
QuoteWizard here."

Do you see that?

A I do.

Q. So didn't she tell you where she was from?

A It appears that way on that one.
Q Okay. And yet despite her having told you who
she was texting on behalf of, you sent the text messages
that we've just reviewed on the other exhibit to find
out where she was texting from?

A. Yes.

Q. I mean, is it possible that you were actually
interested in insurance at this time?

A. No.

Q. Did you send this e-mail or this text string to

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Mr. Novia?

A. I may have. I'm not 100 percent. Very possible.

Q. Do you recall him saying, "hey, Joe, it looks
like you already have the entity that texted you"?

A. I do not recall that conversation.

Q. As you sit here you don't know whether you have
any text messages from Mr. Novia in the June, July, or
August timeframe?

A. No.

Q. I just ask if you do, not to delete them.

A. Okay.

Q. Okay. So going back. Now, to, to the original
exhibit where you responded to Amanda. And you asked to
schedule a call so you could find out where she was
from.

You scheduled the call but then you didn't attend
the call; right?

A. Right.

Q. Why not?

MR. BRODERICK: Objection.

A. I wasn't interested in talking.

Q. But your interest wasn't about talking, wasn't it
about to find out who the entity was who was texting

you?

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A. Gather more information, I guess.

Q. But your testimony is you set up a call to find
out who was texting you; isn't that right?

A. (No response.)

MR. BRODERICK: Joe, did you hear that
question?

A. No.

Q. So your testimony is you set up a call to find
out who was texting you; right?

A. Correct. I think I said I wanted to gather more
information.

Q. And yet you didn't attend the call. So how did
you find out that it was QuoteWizard?

A. I think at that point I just took the text and
took that information.

Q. Did anyone else help you determine it was
QuoteWizard that sent the text?

A. Well, I think you said here, you showed me that
my text says it's QuoteWizard.

Q. Yeah, but you said you hadn't realized -- just
before I asked you that you said you've never been aware
that QuoteWizard provided their name in the text?

MR. BRODERICK: Objection.

Q. So now is it your testimony that you have a

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memory of determining that they did tell you their name
in the text?

A. No, I think at that point I think we looked up
the phone numbers and tried to track it backwards.

Q. You said who -- "we looked up the phone numbers,"
who is "we"?

A. I think I had asked Steve.

Q. So was Steve helping you at this time?

A. I think he looked it up.

Q. And what did he find out about the phone number?

A. I think that he said that it was QuoteWizard.

Q. And do you know if he shared that information
with you via phone, e-mail, or text?

A. I don't recall.

Q. Do you know if he was talking to his attorneys
and relaying information to you?

MR. BRODERICK: Objection.

A. No. I -- I do not.

Q. But at some point in time you asked him to make
an introduction for you? To his attorneys.

A. Yes.

Q. And you believe it was after receiving these

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Q. Now, you said you have received text like this
before except not as many; is that right?

A. Automated text like robots, I guess. Like,
things like doctors appointments.

Q. <Any other sort of, like, solicitations or other
text messages, marketing, things like that?

A. Never like this. Phone calls. No texts.

Q. You received phone calls regarding insurance?

A. No.

Q. Phone calls regarding what?

A. I just don't answer them.

Q. Well, how do you know who they're from?

A. There's been voicemails.

Q. And what are the voicemails, what are they
selling or marketing?

A. Some are in different languages, sometimes you
don't know. Sometimes it's just a, like an automated
recording to call back and because it went to voicemail
you don't have -- it cuts off at the beginning or it
cuts off at the end.

Q. Now, you mentioned earlier that by the third text
you were interested in filing litigation regarding these
texts; is that right?

MR. BRODERICK: Objection.

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A. By the third text what? Sorry.

Q. Sure. You mentioned earlier that you received a
number of texts from QuoteWizard; right?

A. Yes.

Q. And by the third text you stated you were
interested in bringing some litigation against
QuoteWizard; is that right?

MR. BRODERICK: Objection.

A. I was interested in finding out more information
about QuoteWizard.

Q. And how did you find out more information about
QuoteWizard? And let me stop you right now. If this
involves, you know, communications through your counsel
don't, don't share that with me. But if it involved any
of your own investigation or those of others, let me
know.

A. Yep. Going back to the conversation that I had
with Steve, so I think Steve actually confirmed for me
that QuoteWizard was a real company, from what he
thought.

Q. And did he suggest or recommend pursuing anything
against QuoteWizard?

A. He gave me Alex's number. E-mail.

Q. And he gave you Alex's e-mail after receiving

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these texts or before?

answered.

QO. You can answer.

A. After.

Q. And how did he provide that e-mail address?

A. I don't recall.

Q. Does Steve ever e-mail you?

A. No, not typically.

Q. It's either by phone or text?

A. Yes.

Q. And what's Steve's phone number, by the way?

A. I would have to look that up.

QO. Can you?

A. Sure. 617.

QO. Yep.

A. 418.

Q. 418°?

A. 9105.

Q. (617) 418-9105 is Steve Novia?

A. Yeah.

Q. Okay. Let's go to your document responses. Give
me one second to mark this. Bear with me one second.
Okay. I'm going to introduce exhibit -- I think it's

MR. BRODERICK: Objection. Asked and

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Exhibit 14. Give me a second.
(Deposition Exhibit No. 14 introduced.)

Q. It's loading. Hold on a second. If you could
look for Exhibit 14 in your Exhibit Share folder.

A. (Witness reviewing.) Okay.

Q. And turn your attention to page 12 of 44,

A. Uh-huh.

Q. And so these are color copies of the text
messages that we just looked at in one location to make
it a little easier.

Do you see the text messages?

A. Yes.

Q. So in the text message where you stated, "how do
I get a quote?" Do you see where it says, you responded
to do a text that said, "Joe, Amanda from QuoteWizard
here"?

A. Yes.

Q. And it's still your testimony that despite
receiving that text and responding to it, you were
responding to it in order to find out the entity that
was sending you the text?

A. Correct.

Q. Now, let's turn to the page 15 of 44.

MR. BRODERICK: Is that the Gmail?

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MR. POLANSKY: Yep.

Q. It's Bates stamped Mantha 18.

A. Where am I going now? Sorry.

Q. Sure. Just go down one or two pages. It's a
Gmail, it says "Mantha DNC." It's a Gmail e-mail.

Tell me when you're there.

A. (Witness reviewing.) Okay.

Q. So do you see an e-mail dated August 31, 2019, it
says, "to Alex Washkowitz"?

A. Yes.

Q. And this is approximately one week after the call
that you were supposed to have with QuoteWizard; is that
right?

A. Correct.

Q. Now -- so by now is Alex your counsel?

A. I'm not sure of the exact date.

Q. Okay. Was -- do you know whether he was
obtaining your DNC information on your behalf on this
date? And again, this is a document that's been
produced by your counsel.

A. I would have to go back and check when I reached
out to Alex for the first time.

Q. Okay. And it's safe to say it would have been

before this day; right?

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A. I believe so.

Q. And did you know Alex prior to retaining him as
your counsel?

A. No.

Q. Did you ever share information from Alex with
Steve Novia?

A. What kind of information?

Q. Sure. Anything that Alex told you about your
case against QuoteWizard, did you share that with Steve
Novia?

A. A little bit.

Q. Okay. Like what? What information did you share
with Steve?

A. Just my conversation at the beginning, where it

was going.

Q When you say "where," where what was going?

A. Where it was heading. What was happening.

Q. Okay. What did you tell Steve?

A I don't -- I don't recall exactly what I told
him.

Q. And was this information that you
shared -- strike that.
Was this information that Alex shared to you via

e-mail?

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A.
Q.
Steve
about
A.
Q.
A.
Q.
contin

update

Becaus
Q.
you sh
provid
A.
Q.
A.
Q.
visite
A.

Q.

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I'm not sure.

But you had a conversation, or conversations with
regarding information that Alex was telling you
where your litigation was going to proceed?

Steve knew or knows some of the information.

And what information does he know?

That I pursued this.

What about you pursuing this? What -- have you
ued to share information along the way and give an
?

MR. BRODERICK: Again, I'm going object.
e this definitely doesn't have to do with consent.

At the time of receiving the text messages did
are information with Steve about whether you
ed consent to receive these text messages?

That wasn't a discussion.

Did you ever discuss consent at all with Steve?

No.

Have you ever discussed with Steve whether you
d the website Snappy Auto Insurance?

Not to my knowledge.

Did you ever provide him with the website info

and say, "hey, take a look at this"?

A.

No.

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Q. Does Steve have any of your personal identifying
information?
A. Like what?
Q. So Steve knows about your phone number, your

address, your e-mail; does he know what kind of car you

drive?

A. Yep.

Q. Does he know who your insurance agent is?

A. No.

Q. Does he know who your insurance policy is with?

A. No.

Q. Do you know how many TCPA cases Steve has
brought --

A. I do not.

Q. -- or pursued?

A. I do not.

Q. Do you know if Steve's made any money in filing

TCPA litigation or demands?

A.

Q.

MR. BRODERICK: Objection.
What was that?

Sure. Do you know if Steve has received any

money from pursuing any TCPA type of demands?

A.

Q.

I do not.

In your conversation with Steve in the summer,

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would that have been in June, if you know?

A. I don't know.

Q. Prior to receiving text messages from
QuoteWizard, did you know whether you were on the Do Not
Call Registry?

A. I didn't know specifically when my phone number
was on there.

Q. But did you think it was on there?

A. Yes.

Q. I know you said earlier you spoke to your wife
about Snappy Auto Insurance; did you ever discuss with
her the website autoinsurerquotes.com or
unitedquotes.com?

A. No.

Q. Did you ever ask her if she submitted your
information to obtain insurance quotes in 2019?

A. Yes, I believe at the beginning I asked.

Q. At the beginning when?

A. Well, once that site popped up.

Q. So around September?

A. Even at the beginning when this whole thing
started, it was just....

Q. When you say "the beginning when this whole thing

started," what time period are you talking about?

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A. So between that late August and, you know,
September, by the end of September there.

Q. Other than your wife have you ever asked anybody
who you're friendly with or that's your family member,
whether they've entered your information into any
website for insurance quotes?

A. Did I ask anybody?

Q. Yes.

A. No.

Q. So you can't say with any certainty that they
have not done so?

MR. BRODERICK: Objection.

A. Sure.

Q. And I know you mentioned telemarketing calls in
2019. Again, do you, do you remember whether any of
those related to auto insurance?

A. I do not.

Q. What about your wife, does she receive
telemarketing calls?

A. I'm not sure.

Q. Had you ever spoken with her about what you
learned from Steve in the summer of 2019 about TCPA
litigation?

A. Could you repeat that.

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Q.

a cookout; was it at your house or his house?

A.

Q.

Sure. After speaking with Steve,

Mine.

In which he discussed, you know,

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I think you had

TCPA litigation.

Did you discuss with your wife the conversation that you

had with Steve?

A.

mean,

No. She -- she might have heard some of it. I

exactly she heard or didn't hear.

Q.

she was there that day. So I'm not sure what

Have you ever heard of the site or company called

Blue Flame Web Marketing?

A.
Q.
A.
Q.
A.
Q.

A.

Q.

A.

No.

What about Seal Dog Media, LLC?

No.

RevPoint Media, LLC?

I'm sorry. I didn't catch that one.

Sure. RevPoint Media, LLC.
No.

Plural Marketing Solutions?
Nope.

Lead Intelligence, Inc.?
Nope.

What about Joynia (ph.)?

No.

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Q. Do you know the IP address of all of your
devices? And I'm not asking what it is, I'm just asking
if you know.

A. No, I'm not really sure how that works. I just
know when I typed in "what's my IP address" it pops up,
so.

Q. And would --

A. I would think it was the same for all.

Q. Okay. And have you done that for all of your
devices?

A. I know my phone and this computer. I don't know
if I ever looked it up on the other one. I'm not sure.

Q. So you know your IP address for your iPhone 8 and
the computer that you do most of your schooling on?

A. Correct.

Q. Do you recall the last time you looked up your IP
address?

A. I think I did it this morning.

Q. Was it the same IP address that you previously
saw when you looked it up?

A. Yes, I believe so.

Q. Has it changed at all?

A. Not that I know of.

Q. How many times have you looked up your IP

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address?

A. Only a couple.

Q. In those couple of times that you've looked it up
has it ever changed?

A. Not to my knowledge. It doesn't appear to have.

Q. Did you ever look up your wife's IP address for
her phone?

A. No.

Q. What about your work computer?

A. No.

Q. And what about the laptop that has the pictures
on it?

A. I don't think that I typed it into that computer.
I may have. But I don't -- I can't recall.

Q. Are you familiar with the cable WiFi hotspot that
comes with Charter?

A. No.

Q. Have you ever used a hotspot for your laptop?

A. No.

Q. Have you ever connected to a public WiFi hotspot
using your home laptop?

A. Yes.

Q. And in order to connect to the public WiFi

hotspot did you have to enter your user name information

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to get onto the Internet?

A. No. You just type in the password. Connect,
password. I might not even have had to. I'm not sure.

Q. In traveling to Florida in 2019 was it a direct
flight or did you stop over somewhere?

A. I would have to look back. Typically we, we fly
to Miami or Fort Lauderdale and then drive to get to the
Keys where my mom lives.

Q. Do you ever stop over in New York or LaGuardia?
Or what's the one in Jersey?

MR. BRODERICK: Objection.

A. Possibly. I don't -- I don't recall. Typically
it's, you know, at this point Worcester to Fort
Lauderdale.

Q. Okay. So you fly out of Worcester?

A. More recently the last few years, two, three
years, since they started doing more flights.

Q. And do you know whether, last year, whether your
flight from Worcester was direct or there was a
stopover?

A. Yeah, it was -- there was probably the stop. So
I'm guessing that it was Fort Lauderdale, because that's
the Worcester to Fort Lauderdale is the flight that's

there. I'm pretty confident in that at this point. It

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was probably to Fort Lauderdale and we drove down.

Q. And do you recall -- (inaudible.)

A. Sorry. I've been doing it for many years. My
mom has been down there a long time. So I've flown
every which way to try to save money.

Q. So you -- do you know when you went down to
Florida last year?

A. I would have to check. It's just been different
with my school schedule.

Q. So -- (inaudible.)

A. Typically we try to go in October and in April
each year. But with school, and then this last year
which is 2020, we didn't go. But typically it's October
and April.

Q. But as you sit here today you don't know whether
last year you went in October or April?

A. It might have -- both. Actually, now that I
think about it it was definitely April I was there.

Q. And did you bring your iPad with you -- I mean,
not your iPad. Strike that.

Did you bring your laptop with you?
A. I think I did, because I was in school.
Q. Do you usually bring your laptop with you?

A. No. No. I flew in -- I'm trying to think now.

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I think that was for my 40th birthday party in April,
so, at my mom's.

Q. Safe to say you always bring your iPhone 8,
though?

A. Yes. But I did take my laptop that time because
I know I had to -- let me think. I don't know. I'm
sorry. I can't -- I took my laptop there one time. I
remember because I had a final due or an assignment and
I wanted to make sure that it was done and I did some
work on the plane. And then when I got to my mom's.

Q. You said assignment --

A. I can't remember what trip it was.

Q. Is this an assignment you did for school or for
your work?

A. School.

Q. Okay. Are you currently in school? Strike that.

Were you in school in 2019?

A. Yes.

Q. Where -- where did you go to school?

A. Bay Path University. Online program.

Q. Any -- any class -- any in-person classes?

A. No.

Q. What were you going to school for?

A. Nonprofit management.

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Q.

A.

Q.

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And was that all through 2019?
Yes.

And typically where did you, where did you take

the online courses, at your house or at work or

somewhere else?

A.

Q.

Home.

When you used your laptop in Florida did you use

it at your mother's house or did you go to a public

hotspot?

A. My mother's.

Q. Do you know what her IP address is? I'm not
asking for it, I'm just asking if you know what it is.

A. No.

Q. Do you know a person by the name of Peter Petrov
(ph.)?

A. Could you repeat the name.

Q. Peter Petrov.

A. No.

Q. Do you know a person by the name of Mario
Guerreiro?

A. No.

Q. How far do you live from Worcester?

A. 20-minute ride.

Q. How often do you go to Worcester?

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A. It depends. A few times a month. Shopping.
Home Depot.

Q. Would that be consistent with 2019, you went
there a few times a month to Worcester?

A. Yeah.

Q. Would you ever stop and use any sort of public
hotspot, coffee shop, or anything like that?

A. No.

Q. So in Worcester you would go to where for
shopping?

A. I've just given an example, like a Home Depot.

Q. Do you know anyone that lives near Pemberton
Street? On or near it.

A. No.

Q. What about Park Ave.?

A. On Park Ave.?

Q. Or anyone that lives near Park Ave. or on Park
Ave.

A. No.

Q. And where did you say Steve lives? Steve Novia.

A. I'm not sure exactly his address. I know he's
formally in Winthrop.

Q. Do you know where he lived in 2019?

A. I believe Winthrop. I'm not sure of the exact

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PO

Q.
A

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date that he left his residence.

Do you have any relatives that live in Worcester?
Not anymore.

Did somebody used to live in Worcester?

Say that again.

Did somebody used to live in Worcester?

My grandparents.

When was that? Was that in 2019?

I think my grandmother still did. She moved

after my grandfather passed. I'm not sure of the exact

timeframe of her moving.

Q.

oO PP YO ?P

Do you know roughly where she lived in Worcester?
Mill Street.

Is that M-I-L-L?

Correct.

What number?

I don't -- I don't have that number. It's kind

of like these two big complexes, condo complexes.

Q.

Okay. I'm going to ask you a number of

individuals and let me know if you know any of these

people; okay?

A.

Q.

A.

Uh-huh.
Maylin Corpan Sanchez?

No.

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Q.

A.

Q.

A.

>

10

>

r Oo FP ODO PP OP OOUPlUlUCOUlUlUCUPLULUCOUCUMDPLCUO

10

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Behymer Corpan?
Can you say the first name again.

Yeah. It's B-E-H-Y-M-E-R. Behymer Corpan.

C-O-R-P-A-N.

No.

What about Eric Sierra?

Nope.

Francis Sierra?

No.

Danielle Esposito?

No.

Lewis Rouche (ph.)?

Nope.

Gina DePhillips?

Nope.

What does your wife do?

She's a nurse.

Is she a visiting nurse?

She is.

And does she travel to locations in Worcester?
Sometimes.

Does she ever bring your laptop with you?
No.

Has she ever been known to bring your home laptop

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with her?

A. No.

Q. Has she ever told you whether her phone has been

stolen or missing for a period of time?

A. No.

Q. Have you ever used a VPN or a virtual private
network?

A. What is that?

Q. Sure. It's a -- it generates a private
connection between a private network and public
connection to give you WiFi on your, on your desktop,
your computer?

A. No.

Q. Have you used any device in 2019 or in the

present to obscure your or alter your IP address --

A. No.
Q. -- when connecting to the Internet?
A. No.

Q. Does your employer require you to have any device

management applications to protect your students
personal information?

A. No.

Q. I want to show you another document. Can you

turn to Exhibit 15.

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(Deposition Exhibit No. 15 introduced.)

Q. Are you there?

A. (Witness reviewing.) I'm there.

Q. Okay. Have you seen this document before?

A. Yes.

Q. And is that your signature on page 3?

A. Yes.

Q. And turning to paragraph 7. You state "the
purpose of the texts was to sell auto insurance."

Do you know if that's true or not?

A. I believe the original text says, "I have a quote
for you."

Q. Do you know whether -- do you know whether
QuoteWizard sells insurance?

MR. BRODERICK: Objection.

A. Am I answering anything here? I'm sorry.

Q. Yes. Do you know whether QuoteWizard sells any,
sells insurance?

A. Well, you just told me off of their texts.

Q. And what is it that you learned from their text?

A. They said that they had auto insurance.

Q. So you've done no independent research to learn
that QuoteWizard doesn't actually sell insurance?

MR. BRODERICK: Objection.

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A. I haven't.

Q. Does it surprise you that QuoteWizard doesn't
sell insurance?

MR. BRODERICK: Objection.

QO. You can answer.

A. I'm not aware.

Q. Do you know of any person who consented to be
contacted on your behalf regarding auto insurance?

A. No.

Q. Do you have any suspicions or theories about who
may have consented, if anybody, on your behalf?

A. No.

Q. Do you have any reason to believe that your wife
may have consented on your behalf?

MR. BRODERICK: Objection.

A. No.

Q. Do you have any reason to believe that any family
members may have consented on your behalf?

A. No.

Q. Do you have any reason to believe that Steve
Covia -- Novia may have consented on your behalf?

A. No.

Q. Okay. I'm going to refer to another document.

Give me a second. We can go off the record just for a

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moment so I can tell you sort of the timing of what I've
got left.

VIDEOGRAPHER: Off the record at 1 o'clock.
(Short break taken.)
VIDEOGRAPHER: Back on the record at 1:05.

Q. Mr. Mantha, I want you to go to the Exhibit Share
account, Inc. and click on Exhibit 16.

(Deposition Exhibit No. 16 introduced.)

A. (Witness reviewing.) I'm there.

Q. Yep. Okay. So I'm showing you your responses to
the second set for request for admissions, specifically
your Request for Admission No. 14.

And this asks you whether you have "personal
knowledge that the consent obtained from Joseph Mantha
on June 26, 2019 on Snappy Auto Insurance was
fraudulent." And you denied that.

Do you see that?

MR. BRODERICK: Objection. It's signed by
counsel.

Q. Are these one of the responses you reviewed today
as you testified earlier?

A. Is that towards me?

Q. Yes.

A. What did you say? Sorry.

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Q. Sure. Are these -- is this one of the documents
that you referred to in preparation for your deposition
today?

A. No.

Q. Have you ever seen this document before?

A. I believe.

Q. Let me ask you this. Do you have any personal
knowledge whether the consent allegedly obtained from
you on June 26th from the website
snappyautoinsurance.com is fraudulent?

MR. BRODERICK: Objection.

A. Can you repeat how you said that.

Q. Sure. Do you have any personal information
whether the consent obtained allegedly from you on
June 26th, 2019 on the website snappyautoinsurance.com
is fraudulent?

A. Do I have information that it's fraudulent?

Q. Yes. Do you have personal knowledge.

A. No.

Q. Okay.

MR. BRODERICK: Objection.

Q. Do you have any personal knowledge that

QuoteWizard fraudulently created the consent at issue?

A. No.

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Q.

Banks?

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Q.

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MR. BRODERICK: Objection.

Can you say with absolute certainty that somebody

did not create the consent on your behalf?

MR. BRODERICK: Objection.
You can answer.
No.

Do you know an individual by the name of Nicholas

I do.

Who is that?

That's my wife's brother.

Does he ever live with you?

No.

Does he have your cellphone number?
Possibly.

Does he know your e-mail address?
No.

Does he know the type of car you drive?
Possibly.

Has he ever stayed with you, not live, but stayed

at your house in Rutland?

A.

Q.

A.

No.
Are you familiar with his criminal history?

Yes.

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Q. Are you aware of him ever using your personal
information?
A. No.

Q. Do you know what type of car he drives?
A. I don't.
Q. Do you know whether it's a Chevrolet Trailblazer?
A I don't. I don't know anything about his
vehicle.
Q. Do you know his birthday?
I don't.
He's younger than you; right?
Yes.
A couple of years?
I would say 10 or 11.

10 or 11 years younger?

> op OPP

Yes.

Q. Are you aware of him ever taking or stealing or

using your wife's personal identifying information?
A. No.
Q. Has he ever had access to your laptop to your
knowledge?
A. No.

Q. Do you know where he lives?

A. I do not.

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Q.

A.

Q.

A.

I was

Q.

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Do you know if he's lived in Worcester for a

period of time?

A. I think so.

Q. Do you know whether you saw him in 2019 in
Worcester?

A. Did I see him in Worcester?

Q. Yeah. Have you ever visited him in Worcester?

A. Not to my knowledge. We haven't seen him in
quite some time.

Q. Do you know whether he still lives in Worcester?

A. I don't.

Q. Have you ever been the victim of identity theft?

A. No.

Q. Now, as a Yahoo e-mail user were you ever

notified that your account was one of the accounts in

question from the data breach a couple of years ago?

No.

Other than Miss Novia and your lawyers have you

discussed this case with anybody else, other than your

wife as well?

I -- I -- I did bring it up to my COO about that

taking today off for this. But I did not discuss

it going into details.

Did you discuss what the case was about?

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No.

Did he ask what the case was about?

> Oo >

No. It was more, I did say around the TCPA.

Q. Is this the first time you've discussed this case
with your COO?

A. Yes.

Q. Do you know if Phil DePuy (ph.) did a search of
your web browser for Snappy Auto Insurance?

A. Phil is who I worked with who I send my two
computers and my phone to. I believe that's what he
did.

Q. Do you know if he, he saw any reference to Snappy
Auto Insurance on your browsers?

A. I believe he did not.

Q. Even after you searched the Snappy Auto Insurance
website in September?

A. I didn't get into that with anyone.

Q. I'm not talking about anybody, I'm talking about
him.

A. I didn't talk to him about it at all. He was
just the person who extracted the information.

Q. Do you -- do you know what he saved from your
computer, your two computers and your iPhone?

A. I believe just hard drives from the computers,

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and I don't know what from the phone.

And you believe that was about two months ago?

Roughly. I don't know. It was certainly during

Did Mr. DePuy ask to see your work computer?
No.

Did you offer to provide your work computer to

No.

Did you inform him that you occasionally use your

work computer for personal use?

We wouldn't have discussed that, no.

Was it simply you just sent him what was asked

Yes.

Did he tell you what browser history was

available in 2019 on your, on your devices?

MR. BRODERICK: Objection.
No.
Have you ever spoken to Mr. DePuy?
Yes.
How many times?

I would say less than a handful. It took a few

tries and it took some time for each device. You know,

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it takes a little bit of time. So I talked to him, hook
it up, talked to him when that device was completed.
Start the next device. And it took more than a day, so.

Q. It took more than a day to back up the, or, I
guess, copy the devices?

A. Each one, yeah.

Q. So each device took over a day or a day?

A. No, I'm not saying that. It's the timeframes
that we did it. If we started at 4 o'clock it took
until this time for that one.

Q. Did you ever see what he has copied?

A. No.

Q. So you've never been provided with a copy of the
copy image, the copied images that he took?

A. No.

Q. Did he ever inform you whether anything that was
transferred was deleted?

A. Say that again.

Q. Sure. Did he ever make any mention of anything
that was attempted to be transferred was deleted?

MR. BRODERICK: Objection.
A. No.
Q. Other than your COO, and the other individuals I

mentioned, Steve Novia, your wife, your attorneys, have

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you spoken with, about this case with anybody else?
A. No.
Q. I'm just about done. I might need a few minutes
just to confirm.
After receiving the first text from QuoteWizard

did you ever ask QuoteWizard to just stop sending you

the text?
A. No.
QO. How come?
A. No more texts came after the call.
Q. No, I said the first text.
A. The first text?

Q. Yeah. Anything after -- after you received the
first text how come you didn't tell them to stop texting
you?

A. I don't know why.

Q. Did you ever ask QuoteWizard how it obtained your
cellphone number?

A. No.

MR. POLANSKY: Ted, just give me a moment, I
might be done.

MR. BRODERICK: Okay.

(Pause. )

Q. Okay. I think that's all I have.

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MR. BRODERICK: I just have one or two

questions about Exhibit 16, Joe.

EXAMINATION

BY MR. BRODERICK:

Q. You were asked -- you didn't direct -- you didn't
provide consent on snappyautoinsurance.com at anytime;
correct? To receive text messages.

A. Correct.

Q. And you didn't ask anybody to do it on your
behalf; correct?

A. Correct.

Q. And you know that so that's part of your personal
knowledge; correct?

MR. POLANSKY: Objection.

A. Correct.

Q. And so when you say you deny that you have no
personal knowledge that the consent obtained from Joseph
Mantha on June 26th, 2019 on
www.snappyautoinsurance.com was fraudulent, is it fair
to say that you do have knowledge that you didn't do it
yourself or ask anyone to do it for you?

MR. POLANSKY: Objection.

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A. That's fair.
Q. Okay. No further questions.

MR. POLANSKY: Mr. Mantha, thank you very
much for your time. Appreciate it.

A. Thank you.

VIDEOGRAPHER: This concludes today's
testimony given by Joseph Mantha. The total number of
media units used was two and will be retained by
Veritext New England. We are off the record at
1:22 p.m.

(Whereupon, the deposition concluded at

approximately 1:22 p.m.)

COURT REPORTER: Mr. Broderick, did you need

a copy today of the transcript?

MR. BRODERICK: Yes, please.

VIDEOGRAPHER: And will you be wanting a
video?

MR. BRODERICK: I'11l take a video too,
please.

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CERTIFICATE

COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, ss.

I, Laurie Langer, Registered Professional Reporter
and Notary Public in and for the Commonwealth of
Massachusetts, do hereby certify that the witness whose
deposition is hereinbefore set forth, was duly sworn by
me and that such deposition is a true record of the

testimony given by the witness.

I further certify that I am neither related to or
employed by any of the parties in or counsel to this
action, nor am I financially interested in the outcome

of this action.

In witness whereof, I have hereunto set my hand and
seal this 4th day of August, 2020.

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Edward A. Broderick, Esq.
ted@broderick-law.com

August 4, 2020
RE: Joseph Mantha v. Quotewizard.Com LLC

7/27/2020, Joseph Mantha (#4186175)

The above-referenced transcript is available for
review.

Within the applicable timeframe, the witness should
read the testimony to verify its accuracy. If there are
any changes, the witness should note those with the
reason, on the attached Errata Sheet.

The witness should sign the Acknowledgment of
Deponent and Errata and return to the deposing attorney.
Copies should be sent to all counsel, and to Veritext at

cs-ny@veritext.com

Return completed errata within 30 days from

receipt of testimony.

If the witness fails to do so within the time

allotted, the transcript may be used as if signed.

Yours,

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ERRATA SHEET
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Joseph Mantha (#4186175)
ACKNOWLEDGEMENT OF DEPONENT

I, Joseph Mantha, do hereby declare that I
have read the foregoing transcript, I have made any
corrections, additions, or changes I deemed necessary as
noted above to be appended hereto, and that the same is
a true, correct and complete transcript of the testimony

given by me.

Joseph Mantha Date
*If notary is required
SUBSCRIBED AND SWORN TO BEFORE ME THIS

DAY OF , 20

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